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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT


 CONLEY F. MONK, JR., et al.,

                         Plaintiffs,
                                                    Civil Action No. 3:22-cv-1503 (JBA)
                 v.

 THE UNITED STATES OF AMERICA,                      August 15, 2023

                         Defendant.


                               NOTICE OF APPEARANCE

         To the Clerk of Court and all parties of record:

         Please take notice that the undersigned attorney, Natalia Friedlander, is admitted

to practice in this Court and hereby enters an appearance in this case on behalf of the

Plaintiffs.

Dated:          August 15, 2023
                New Haven, Connecticut

                                        Respectfully submitted,

                                        /s/ Natalia Friedlander
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